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PROB 12A-DC
(Rev. 11/10)




                         U NITED S TATES D ISTRICT C OURT
                         DISTRICT OF COLUMBIA PROBATION OFFICE
                         BRIAN D. SHAFFER Ɣ CHIEF UNITED STATES PROBATION OFFICER
                         E. BARRETT PRETTYMAN U.S. COURTHOUSE Ɣ 333 CONSTITUTION AVENUE, N.W. Ɣ SUITE 2214
                         W A S H I N G T O N , D . C . 2 0 0 0 1 - 2 8 6 6 Ɣ TELEPHONE (202)565-1300


                                     U.S. Probation Office Petition
                                     (Permission to Travel Internationally)

  Sentencing Judge:                Tanya S. Chutkan
                                   United States District Judge

  Date:                        2/27/2023

  Name of Offender:            FERREIRA, Leticia Vilhena

  Docket Number:               1:22CR00210-001 (Sealed)

  Offense:                     Parading, Demonstrating, or Picketing in a Capitol Building, 40
                               USC § 5104 (e)(2)(G)

Original Sentence:             10/06/2022: 14 days imprisonment, 36 months probation, $10.00
                               special assessment, $500.00 restitution. Special condition(s) as
                               follows:

                               x   pay restitution at a rate of no less than $50.00 per month
                               x   60 hours of community service within 12 months
                               x   firearms restriction

Supervision Began:             10/06/2022

Supervision Expires:           10/05/2025


Reference made to the probation petition submitted on January 12, 2023 (Document No. 55). To
date, Ms. Ferreira has not received a response from the United States Consulate regarding her visa;
therefore, she is still in Brazil. She has maintained weekly contact with the Probation Office to
provide updates on her visa status.

Recommendation: Allow Ms. Ferreira to remain in Brazil until her visa is approved.
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FERREIRA, Leticia Vilhena
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                                            I declare under penalty of perjury that the
                                            foregoing is true and correct.
                                                              2023.02.27
                                      By:                     12:26:49 -05'00'
                                            ____________________________________
                                            Oscar A. Maravilla                 Date
                                            United States Probation Officer
                                            (202) 565-1321
                                                              2023.02.27
                             Approved by:                     17:50:00 -05'00'
                                            ____________________________________
                                            Shawn A Suber, Supervisory         Date
                                            United States Probation Officer
                                            (202) 565-1333
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                            UNITED STATES DISTRICT COURT
                                       FOR THE
                                DISTRICT OF COLUMBIA
U.S.A. vs. FERREIRA, Leticia Vilhena                                           Docket No.: 1:22CR00210-001



                The Court may enter a minute order for any of the following options:


Warrant Requests Only - To help ensure the safety of law enforcement officers while a warrant is active, we ask that
you not enter a minute order. Rather, please print and sign this document and, if you concur with the request for a
warrant, provide all pages to your Court Room Deputy Clerk who will enter a sealed minute order and process the
warrant for service without alerting the public or the offender. After the warrant is executed, the Deputy Clerk will
unseal the warrant unless otherwise directed by the Court.

THE COURT ORDERS:

   X Concurs with the recommendation of the Probation Office to “allow Ms. Ferreira to
1. 
     remain in Brazil until her visa is approved.”

2.  No action

3.  Issuance of a warrant and enter into NCIC and schedule a hearing upon execution

4.  Issuance of a summons and schedule a hearing

5.  Hearing to modify, revoke, or terminate supervised release shall be held before a magistrate
     judge for the preparation of a report and recommendation to the district judge. This
     designation will remain for the duration of the case, and the designated magistrate judge
     will respond to all subsequent requests from the probation office unless otherwise ordered
     by the district judge.

6.  Other



                                   _______________________________
                                            Tanya S. Chutkan
                                       United States District Judge


                                                   3/2/23
                                            __________________
                                                   Date
